
79 So. 3d 875 (2012)
Dwayne OWENS, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-1222.
District Court of Appeal of Florida, Fourth District.
February 8, 2012.
*876 Philip R. Horowitz, Miami, for appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Mark J. Hamel, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Affirmed. See State v. Roby, 246 So. 2d 566 (Fla.1971); Ruger v. State, 941 So. 2d 1182 (Fla. 4th DCA 2006).
WARNER, DAMOORGIAN and CONNER, JJ., concur.
